                                          Case 2:19-cv-01687-KJM-CKD Document 37 Filed 02/09/22 Page 1 of 2


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                                      Attorneys for Plaintiff and Proposed Class
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                                 6
                                                                UNITED STATES DISTRICT COURT
                                 7
                                 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA

                                 9
                                      VALERIE BROOKS, individually and on          CASE NO.: 2:19-CV-01687-KJM-CKD
                                 10   behalf of all others similarly situated,
                                                                                   The Hon. Kimberly J. Mueller
                                 11                         Plaintiff,

                                 12          v.                                    DECLARATION OF THIAGO M. COELHO
                                                                                   IN RESPONSE TO THE COURT’S ORDER
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13                                                DATED FEBRUARY 8, 2022
                                      PRESSED JUICERY, INC. a Delaware
                                 14   corporation; and DOES 1 to 10, inclusive,
                                 15
                                                           Defendant(s).
                                 16                                                DATE: February 11, 2022
                                                                                   TIME: 10:00 a.m.
                                 17                                                COURTROOM: 3

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                                                           CASE NO. 2:19-CV-01687-KJM-CKD
                                          DECLARATION OF THIAGO M. COELHO IN RESPONSE TO THE COURT’S
                                                         ORDER DATED FEBRUARY 8, 2022
                                           Case 2:19-cv-01687-KJM-CKD Document 37 Filed 02/09/22 Page 2 of 2


                                 1                             DECLARATION OF THIAGO M. COELHO

                                 2    I, Thiago M. Coelho, declare as follows:

                                 3             1.     I am an attorney licensed to practice before all of the courts of this State and

                                 4    am an attorney at Wilshire Law Firm, counsel of record for Plaintiff Valerie Brooks

                                 5    (“Plaintiff”) and the Putative Class in this litigation. I provide this declaration in res ponse

                                 6    to the Court’s Order, dated February 8, 2022 (“Order”), wherein Plaintiff was instructed to

                                 7    (1) submit evidence describing in detail Plaintiff’s contribution to the case which may justify

                                 8    the incentive award, and (2) provide a “lodestar estimate,” respectively.

                                 9             2.     The matters set forth below are of my own personal knowledge from my

                                 10   personal participation in the case and discussions referenced below, and I would and could

                                 11   competently testify thereto if called upon and sworn.

                                 12            3.     After receipt of the Court’s Order, our office contacted Plaintiff in order to
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                                 13   articulate the Court’s requirements and prepare a plan of action to obtain a signed declaration

                                 14   from Plaintiff. Attached hereto as Exhibit A is a true and correct copy of Plaintiff’s

                                 15   declaration, written in support of the Court approving an incentive award.

                                 16            4.     Additionally, Plaintiff’s counsel’s office reviewed its’ case files and

                                 17   communicated with its’ accounting department in order to prepare a lodestar estimate, as ordered

                                 18   by the Court. Attached hereto as Exhibit B is a true and correct copy of Plaintiff’s Statement

                                 19   of Attorney’s Fees and Costs, which should reflect the lodestar estimate required by the
                                 20   Court.

                                 21            I declare under penalty of perjury under the laws of the United States that the foregoing is

                                 22   true and correct.

                                 23            Executed this 9th day of February 2022, at Los Angeles, California.

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                                 25                                                                 Thiago Coelho
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                                                           CASE NO. 2:19-CV-01687-KJM-CKD
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